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Starr, the "Bandit Queen"
from Oklahoma.

Growing Up Okie:
An Interview With Roxanne Dunbar-Ortiz
by Danny Postel

In Red Dirt: Growing Up Okie (New York 1997) Roxanne Dunbar-Ortiz uses the
compelling personal history of her family to tell the farger story of a neglected
group, poor rural white Americans. Animating the book is the paradoxical story of
how this group, once a breeding ground of radicalism, has become aibulwark of the
American right. Grandchildren of Wobblies and Okies can now be found supporting
the Christian Coalition, the Republican Party and even white supremacist militias.
Her book makes clear that right-wing populism derives much of its pawer fram the
souring of radical hopes and the repression of genuinely egalitarian golitical
movements. In addition, Dunbar-Ortiz grapples with how white racial identity offers
consclation to the "foot soldiers of empire." Her book commends itself to all those
interested in radical politics, the history of rural peoples, and the formation of racial
identities. Roxanne Dunbar-Ortiz is Professor of Ethnic Studies and Women's
Studies at California State University. Her books include Roots of Resistance: Land
Tenure in New Mexico and The Great Sioux Nation. In this interview, conducted by
Danny Postel for his radio program Free Associations and published jn left history
6.1, Dunbar-Ortiz talks about her radical roots in a world of Wobblies, Okies, and
the Klan.

Postel: Friends and enemies of Free Associations alike, it is time ta surrander for
an hour devoted to our weekly forum devoted to the exploration of ideas
somewhere off the beaten path. I'm your host Danny Postel and this week on the
show it's an interview with the author Roxanne Dunbar-Ortiz, who hag got a brand
a new book Red Dirt: Grawing Up Okie, published by Verso Books. Here is what
Mexican Revolution scholar and Harvard University professor John omnes has to
say about Red Dirt, “The sorrows and the courage of rich white Americans are
nothing like the sorrows and the courage of poor white Americans, white trash who
must daily struggle against the rule that shame is their duty. Nowher has this

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struggle been harder than in Roxie Dunbar's state and mine, Oklahoma. Over the
last 100 odd years of settlement in Indian country, the Okie rich and their political
stooges have made the misery of the poor there a popular cult. Some of the Okie
poor have defied their doom as the foot soldiers of empire, toid the truth to viscous
power and the foulest condescension and bigotry, and felt the dignity:of poor brown
and black neighbors, a strong testimony to some fundamental good in humanity.
Roxie's story of growing up poor and Okie is painfully faithful, brave, loving, and
plainly beautiful. it would make her Wobbly grandpa very proud of her. It makes me
proud to come from near where she comes from.” Roxanne Dunbar-Ortiz is a
professor of ethnic studies and women’s studies at California State University at
Hayward. She is the author of a book called Roots of Resistance: Lamd Tenure in
New Mexico and ancther one called The Great Sioux Nations. Roxanne, your fifth
grade teacher told you, in your words, "to write your story so that a space man from
Mars could understand it. Don't take anything for granted. Explain everything." Now
| find that particularly interesting because in reading your book and in, preparing for
this interview, | figured that would be a good way to start things. Let's'just start from
scratch, no assumptions. Let's assume that people have no idea what an Okie is.
Let's start right there: what is an Okie?

Dunbar-Ortiz: It's a derogatory term for those who went during thé dust bow! to
California without really anything and were farm labourers. They were rural people
from Oklahoma, Arkansas, Missouri and Texas, but mainly from Oklahoma, about
80% from Oklahoma. And there were signs like "No Okies allowed,” "No Okies or
Degs," "No Okies or Mexicans." You know, the usual thing. The kids were
discriminated against. So that term is very sensitive. The best example | heard
about it is from a California women. | was reading in the Central Valley, talking
about the book. She wasn't an Okie but a middie-class woman, already in
California. She's an elderly lady. She came home one day when she was a kid in
the thirties and said she had just made a new friend and been to her house, that
the girl was an Okie. Her father said, “you shouldn't associate with Okies but what
kind of house was it?" It was a nice house, a brick house, and it was hice. Well he
said, "then she wasn't an Okie but an Oklahoman. Okies are people without jobs
who steel and are very dirty. So don't ever call her an Okie.” So that'si why |
embrace this term. Especially in Oklahoma they like to pretend that the dustbow!
never happened and that The Grapes of Wrath never got written or miade into a
movie. At least the powers-that-be there, the sort of social set. Poverty is
considered the shame of those who are poor,

Postel: Now when you talk about the dust bowl, let's go ahead and talk from
scratch there as well. The dust bow! | think in many people's minds evokes a
region, a place rather than an historical experience. Go ahead and tell us what you
mean by the dust bowl.

Dunbar-Ortiz: Well, of course the dust bow! was mainly the Depression that
coincided with the cycles of drought in that area. Today they have irrigation so even
when there is drought, the crops still grow. But at that time it depended on rains.
There was also an ecological disaster in the whole swaths of plains between the
Mississippi rivers and the Rocky Mountains in the 19th century when they wiped
out the buffalo. You know, the tens of millions of buffaloes. They also uprooted the
buffalo grass and replanted alfalfa for their cattle. The roots, even when there were
droughts, it didn't take the dirt away because these very long-rooted buffalo grass,
taller than a person and the rcots went down as far, so it didn't lift the whole earth
up. But once it got transformed to short-rooted grasses, then those drbughts would
pick up the whole dirt, the top-soil. That kept getting worse and worse! every period
of drought until the devastating droughts of the early 1930s that went way up even
into Saskatchewan. That hit parts of Oklahoma, but not all. What hit all of the
farmers, whether or not they were experiencing the dust bow! and drought was the
Depression, the foreclosure of mortgages, living in debt-bondage for go long.
Share-croppers, farmers who would give out their land to be worked by share-

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croppers or rentals, who would go broke. And then the sharecropper$ had nething
to work, like my father. Sa multiply this a few million times and you have what we
would call in any other country a famine. You know, basically a famine.

Sharecropper cabin: The
author inside on@ of the many
one-room sharecropper's
cabins in rural Oklahoma
where her six-member family
lived when she was an infant.
This one still stamds as an
abandoned relic to hard
times.

Postel: Indeed, it seems that when you talk about the dust bow! and the Okies that migrated to places to
California and other places on the West Coast, we're talking about something that amounts to what sounds to
me like a diaspora. A diaspora of what you call "your people." You say that by 1950, 4 million people or nearly a
quarter of all the peopte born in Oklahoma, Texas, Arkansas or Missouri lived outside that region. This is a
diasporic experience.

Dunbar-Ortiz: |t is and it is interesting to trace it because it's actually the kind of final chapter of a process
that had been going on without much notice for several centuries of expansian, colonial expansion in North
America. As Indian land were taken, an army would come in or basically the settlers would go in first, illegally
usually. These were ancestors of my people, mainly Scots-Irish. They would go in, they would fight the Indians.
They would take their land. The army would go in and clear the indians out or drive them out in the case of the
South-eastern Indians force them to go to Oklahoma territory. They would then move along the frontier. In every
place where there was this kind of foot-hold that is gained by all these farmers, they would lose out through the
cash economy, before and after cotton. It wasn't just cotton that did it, before: that it was tobacco, indigo, rice
and various cash crops. The big planters would push them out into the margins or into the mountains, the hill-
billies and all. So then they would move on, hoping to get a foothold, maybe some of them would, maybe 1%
and then the others would move on. So | call us, my people, the foot-soldiers of empire, but also the losers
because they were the ones who maved on and never got a foothold in first of all Virginia, then they were in
South-Central Tennesee. Then they moved on Missouri usually, and then intp Oklahoma. Some of them were
already moving to California even before the dust bowi and Depression. Okldhoma was open for settlement in
1889 during the run, when they broke down the Indian territories and divided'the land and opened it up to
homesteading. Some people didn't make it. It wasn't a lottery in that case, as it usually was with lotteries, some
people got land and some people didn't. In the run, they made stakes of land and no one knew the land that
wall, so they didn’t know where the water was. If you didn’t get land with water, forget it. it’s all underground
water, the water you have to depend upon for wells.

Postel: Cadillac desert.

Dunbar-Ortiz: Yes. They soon discovered oil. So some people had oil. It was a real boom but most people
didn't so they either worked as farm labourers, share-croppers or tenant farmiers or they moved on, especially a

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lot of the younger men. They had been moving on to California so you have @ good many pre-dust bow!
migrants who basically did more or less o.k. Some of them did, some of thems didn't. But it was a trickle effect,
whole families moving. But then with the dust bowl and the Depression, people had relatives in California. All of
these places beyond the horizon were considered the promised land. You know Missouri was considered the
promised land, then Oklahoma, and California, Oregon, the North West and all.

Postel: Another diasporic theme of the promised land.

Dunbar-Ortiz: Yes, and | think it's a theme of U.S. history of going into the wilderness and taming it. It's a
very handy theme for colonialism, that you're really acting out God's will of a covenant. Your making a covenant
with God to tame nature. This idealogy was very strong in the religions that they formed, you know the
evangelical religions. It created a certain sub-culture. I've also come to see it'as a terrible cruelty to people who
are basically peasants. This is what they were, always. They carried that with them to America. Land is what
they came for. Land is what they wanted. They were different from say the merchants who came, other people
who came who were already proletarianized. But these peasants who came, the Scots-lrish, the ones who had
been planted in Ulster from Scotland when they were displaced by the English. Think of the hierarchy in the
landed gentry. To own land was to be royalty. So you offer land to peasants, more and more land. This was like
being a king. This Huey P. Long thing: "Every man a king.” That's the definition of U.S. democracy, American
democracy, every man can be a king. Yet of course only some make it but there's that possibility and the land
then gives the status. | think this is how settler colonialism has worked all over the world whether it is South
Africa or Zimbabwe or Algeria or East Timor today or whatever. That you offér land and the enticement is there
and so poor peasants come and remove the already existing peasants. | see! the Indians also as farming people
tied to their land who were displaced.

Postel ‘Talking about the land Roxanne, the closing line of your introduction is “but there was the land and the
love of the land." End of discussion. | found that a really interesting meditation because you've talked about the
hardships, the almost nightmarish conditions of the existence of the sharecrappers, the peasants in this part of
the country but there was the land after all and your love of the land. Can you talk about that?

Dunbar-Ortiz: Yeah, it's interesting to me in writing this book | came to try to conceptualize how we are, wha
land means in terms of our sustenance and subsistence not just land but all the resources that are on the land,
you know water and all that. Just around, this, the place where we live. Theré have to be a certain number of
people who are responsible for taking care of it. It doesn’t have to be everyorie. There are different roles in
society. It seems to me when you commercialize the land completely and take away from that group that are
sort of destined almost to be farmers. Not all of them. | did not get the gene myself. | did not like farming, | did
nat inherit this. Some people do, some people don't. But I've puzzled over it in my father and other people who
do have it. Many are women. This is what want they want to do in this world. When they are left without purpose
without tending the land, they become violent people, you know, without knowing why...

Postel: Dislocated.

Dunbar-Ortiz: Dislocated. This of course ties in with why they were attracted to the socialist party and the
|.W.W. in the early part of the century and became real rebels in the good sehse. Today and for some years
past you see them as rebels in the sense of being white supremacists, joining militias and so forth. But] think it
comes down to the fact that there are people who have to farm, just like there are some people just like me who
have to write. | mean it's not a choice, you just have to write and you have toikeep at it. There are people who
really, really need and have to work the jand. That's what | call the true peasantry. | know there's one book that
came out a couple of years ago where a man did a study, He came to the conclusion when fewer than 5% of the
population are actually engaged in that, the social fabric collapses. He accounts for a lat of the social problems
that we have now as we're down io jess than 1%.

Postel: Roxanne, you say that your book Red Dirt: Growing Up Okie is really a life history, telling the story of
your life and your family. You say it's a book “about growing up rural and poor in Oklahoma, a kind of historical
study that would teil the story of a people and a place through one life, mine, and about our people who went to
California.” And so, of course, your family is central to the narrative and to the picture that you paint. Your father
grew up a sharecropper but his father was a member of the Industrial Workers of the World (WW), the
Wobblies. Now those are terms that might not even be familiar to a lot of people these days. Why don't you go

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ahead and give us a little hit of a sense of who the Wobblies were?

Dunbar-Ortiz: Weil, it's no wonder that people don't know about it because it's not in the history textbooks.
I'm a historian with a Ph.D. and the only way | know about it is from my being told the stories about my
grandfather when | was growing up. Most of the people who formed the Industrial Workers of the World came
out of the Socialist Party in 1903. They didn't set it up as splinter group but as a practical organizing device of
one big union, everyone in the same union. The Socialist Party was a political party so they set the WW up as a
union but without division into crafts and trades because they saw that as pitting one set of workers against
another. They wanted a living wage, same wage structure for all workers, angi a people's banking system with
no interest. They wanted to end foreign wars. They were pacifists even though they were anarchists and were
not completely free of viclent tendencies. They very much opposed wars, the state carrying on wars. They
opposed the death penalty. They supported the equal rights of women before women had the right to vote and
equality among the races,

Postel: You say early on in a chapter entitled "Red Diaper Baby?" you asked your father, "What did the
Wobblies want?" and "No matter how many times he told me, | loved to hear:his agenda of Wobbly dreams.
Abolition of interests and profits, public ownership of everything, no military draft, no military, no police, the
equality of women and all races. ‘The O-B-U, One Big Union.’ He would say and smile to himseif, lost in
memory." :

Dunbar-Ortiz: Yes, and he would like to deny now anything to do with tha Wobblies. There were 13,000
dues paying socialists in Oklahoma. it was the largest single grouping of socialists in the Socialists Party in
America.

Postel: One doesn't normally associate Oklahoma as a hotbed of socialism.

Dunbar-Ortiz: And a real trade unionists state. The actual constitution of Oklahoma is extremely progressive
and you would never know it now because when the repression came during| World War | it was focused on
Oklahoma. There were Wobbly leaders getting deported, Big Bill Haywood skipping bail and going to the Soviet
Union. Of course, the Wobbly activity within the Socialist Party was all before the Russian Revolution, so it can't
be said this was foreign manipulation or treason. These were real homegrown people who had links all over the
world but generally they were the leaders of these linkages with other workers around the world.

Postel: These were real Americans.

Dunbar-Ortiz: And these were the real Americans, the down-home Americans. So the leaders in the
Socialist Party met in Chicago and formed the IWW. Bill Haywood is the best! known, but there was aiso William
Moyer and George Pettibone. Of course, Mother Jones and Emma Goldman were there. They went ahead and
voted for Eugene Debs, who was there and supported it. Well very soon, within four years, those leaders were
on trial in Boise City for capital crimes.

Postel: This was sort of the western version of the Haymarket tragedy.

Dunbar-Ortiz: Exactly. They were defended by Clarence Darrow, who gof them off. My father was born
during that trial and my grandfather named him after them: Moyer Haywood Pettibone Scarberry Dunbar. That's
how my father got the name of all the Wobbly leaders on his birth certificate. My grandfather had joined the
Socialist Party several years before that. Now his profile is interesting: my grandfather was a farmer. He had
moved in from Missouri. He was already in the Socialist Party. Kansas, Missduri and Oklahoma were real
centers of socialism. He moved his family to this little town where i grew up in central Okiahoma. So they settled
this little town and they were really like the town fathers and mothers. No one was rich but they had land and
they had farms and they farmed. Then my grandfather when he was thirty-five years old went back to Missouri
and did his medical degree in veterinary medicine.

Postel: And they had a big family, he had ten children.

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Dunbar-Ortiz: Eleven. Eventually eleven. He came back after three yearg of being gone. Meanwhile my
grandmother was taking care of the farm and the older kids kept it going. He came back and was a highly
respected veterinarian. He was school board president. The Wabblies took i¢cal power in almost every town in
Oklahoma and throughout the whole western region of the United States, It's) quite an extraordinary thing. They
went for local power. The Socialist Party always ran people for larger offices, like Eugene Debs. He always got
the larger share of the vote in Oklahoma then any other place, twenty to twenty-five per cent. It was really quite
extraordinary because the WW was also such a blatantly radical movement) it was radical in ways that were
shameless. They would get accused of being traitors, the 1950s thing. The accusation of being unpatriotic came
with their opposition to World War I. They weren't just pacifists. They called if a rich man’s war and they were
pretty much right. The war led to utter disasters after that, the Weimar Repuiilic and then fascism. The Wobblies
were horribly smashed. They were beaten up. The Klu Klux Klan was revived by the powers-that-be, although it
had been moribund for years.

Postel:And this brings us directly into your family's story too because the Kju Klux Klan had a direct bearing
that your family's politics and economic life.

Dunbar-Ortiz: Before the Klan, there were the Palmer Raids. The Justice Department raided every Socialist
office and IWW office and wrecked their printing presses, arrested leaders and deported anyone who was
foreign-born. In west Oklahoma, the main people who had socialistic tendencies were farmers. They were
Catholic and foreign-born Czechs, Poles and Germans. The way they framed the attack on the Socialists and
Wobblies in Oklahoma was that they were foreigners, that they were working with the Kaiser, especially the
Germans, and that they were traitors who couldn't be trusted. So whole mob$ would go out beat them up.
There's a scene in John Steinbeck's East of Eden of that happening in California. So the Klu Klux Klan, being
anti-Catholic to begin with, made Catholics and the foreign-born the main target of their attack. Except for work
crews of migrant cotton pickers, blacks weren't really allowed to settle in western Oklahoma by the powers-that-
be. They had to be out of town by after dark. The Indians were so repressed and in tiny fittle enclaves. So the
Klu Klux Klan focused on attacking the Catholics and foreign-born. They infiltrated the Masons in Oklahoma and
they took over the Baptist church. Through these institutions in other places Ike Texas and Arkansas, the Klan
tock over the governorship. They actually came to power. And they did nightiraiding, they beat my grandfather
in front of my grandmother and the children until he was almost dead. He had to have a steel plate put in his
head. My dad is convinced this killed my grandfather, although he lived ten more years. My grandfather was
kicked by a horse he was doctoring and died saon after but if it had not been; for that previous injury, he wouldn't
have died as young as he did. He wasn't all that old.

Postel:So the Klan in a sense killed your grandfather.

Dunbar-Ortiz: That's my dad's feeling. At least metaphorically the Klan drove them cut. My grandmother was
terrified. Here you have all these little kids to take care of and she wanted to get out of there. So my grandfather
sold everything really cheap, real fast and just packed up what they could carry and they all moved down to the
Rio Grande Vatiley in Texas.

Postel: Where you were born?

Dunbar-Ortiz: Weil, | was born in San Antonio. But they went back and farth. My father was, and remains,
attached te that place in Oklahoma. He's never wandered very far from it. It was his home, his town. | think he
felt too that he had to vindicate his father as well. So he ran away from home at sixteen, went back up to
Oklahoma where there were still some relatives. He worked as a regular line+rider, which people usually call
cowboys. They string the barbed wire on the big ranches, very hard proletarian work. Indians, blacks, and poor
whites and Mexicans did this work. And he became extremely good at rodeo-ing and everything else. He was a
cowboy and quit school in the ninth grade, But he stayed there, he tried to stay as close as he could to Piedmon
and was very attached to the place. He met my mother when he was working for her sister, who was married to
a farmer. He was working for them as a farm labourer. My mother was fifteeri and my father was seventeen. The
next year they go married. That was in 1927. Things didn’t look ail that bad in 1927. They were young and poor.
They were both working as farm labour. Then of course the Depression hit. They had their first child and anothe
one came soon after. They lived in sod-huts and caves, They were homeless sometimes and lived in cars,
mainly did cotton-picking. Then my dad started getting some sharecropping work. So they were moving around
but it was all in this one county, where my brother and sister went to a different schoo! two or three times a year.
Little country schools. Me and my other brother weren't born for another eight years later, they had a kind of

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second family in the late thirties so | didn't have to experience the worst of it but it was pretty much
institutionalized by the time | came alang. My dad was a sharecropper or rented. During that period they worked
for the WPA. They almost starved. My father's big thing, he wanted to stay on the fand, have land, to raise his
own food, to have his own hogs and a milk cow, to feed his family because the worst thing you can think of is
not to be able to at least eat. So he just refused to be uprooted from the land or to go to California or to move to
the city. Part of it was also, he wanted to be there in Piedmont and to say | am here and | have the right to be
here. The Dunbars have a right to be here.

Postel: Roxanne in chapter 5 of your book you talk about the world-view of the Okies. You say, "That our
world-view is Manichean, not Buddhist. No yin and yang. There was no balance, just absolutes." And some of
the absolutes you talk about really played themselves out in your home itself. | mean you had either communism
or patriotism and you gravitated toward patriotism as a kid. You had your father's free-thinking cosmology
versus your mother's sort of fundamentalist Baptism and you tended ta gravitate towards your mother's Baptism
Or at least that was the direction you took. Can you talk about that?

Dunbar-Ortiz: Yeah, it's interesting to me because | grew up to be such a rebel. Yet | wanted nothing more
than to be a good girl. You know, be a good Baptist, be a good schoo! student. | think what really happened to
me is what happens to a lot of children who receive lots of attention when you are the youngest, or suffer from
certain conditions, often being sickly. | was an asthmatic, so | was almost an‘invalid. So several things came
from that. One is that my father was trying to work out in his own mind what had happened and what his father
did. He had a captive audience in me because with asthma you can listen but you can't talk because you don't
have the breath to talk. | loved listening to his stories. He was just a great story-teller. He didn't tell these stories
to the other kids and my mother wouldn't have been, she got sick of his story-telling. She was a good story-teller
herself but hers were more fantasy stories then family stories. And he really focused on his father and told me
over and over about the IWW. | suppose that put certain ideas in my mind when | was very young about
equality, about communism. | mean, these were communist, socialist ideas He's putting in my mind. Even if you
Say these are bad ideas if you put it in the child's mind and say the beloved grandfather believed in this his
entire life, it comes off as very positive. It's not something you don't want to be, so it was confusing to me when |
started getting really patriotic and religious which of course coincided with thé McCarthy era when my dad really
stopped talking about these things. If I'd bring it up he'd say, he wouldn't talk ‘about it. 1 didn’t know if it was
because | was getting a little bit older or just what. Although my grandfather's photograph and his I.W.W. book
stayed there on the wall like a shrine.

Postel:So there was always an attachment on your father's part to the iconbgraphy of that era.

Dunbar-Ortiz: Yeah, the honouring of his father. Well, what happened as-| was drawn toward misfits. | was
also extremely dark. | was literally the black sheep. That was my favorite childhood story, baa-baa-black sheep.
| was attracted to misfits, it's very clear when | started writing this and the people I started writing about. One
reviewer said it becomes a little surrealistic. Here's this bucolic countryside, you expect certain things. Instead
you get teenage homosexuals and communists teachers. | was drawn to all these characters who would usually
pass through for a short time, they didn't last long there or the threshing crews that would come through or the
farm labourers who would come through. | kept being very attracted to the marginal peopie and to people who
were probably just a little bit off and yet | thought of myself as extremely traditional. Not at all as a rebel, really
until the sixties.

Postel: And even in the instance where you are watching the Army-McCarthy hearings on television as a kid
you remember identifying with McCarthy and really admiring the young Roy Cohn and so forth.

Dunbar-Ortiz: Yes, that's embarrassing now. | had to say that because that's still true. It makes me
understand how people get paranoid. Now we talk about militias, believing in: blue helicopters, and all these
things. What appealed to us | think about McCarthy was not so much the antil-communism which was very
remote from us but the anti-government sentiment because what they were investigating was the army and the
government.

Postel:And there was a bit of this anti-government sentiment say as a residue from the Wobbly days.

Dunbar-Ortiz: That's exactly it. Yes, that’s alf that was left over in some senses.

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Postel:it was a different kind of anti-statism but it was there, that suspicion ‘of centralized authority.

Dunbar-Ortiz: Yeah, it plays very easily into the libertarian right-wing politics. Even today where that anti-
statism sentiment can be manipulated but it can also always go in a more positive direction. The hopeful thing |
think in my book is that there was a period of time when it went in another direction and where very
independent, stubborn farmers became socialists. Then they were stomped out and repressed, kicked out of the
country, imprisoned, killed even, They didn’t reaily recover from that. | mean,ithere was the Southern Farm
Tenant Labour Union, but they couldn't even get a foothold in Okiahoma. Bagically no one really tried to
organize farmers that much again. The California Communist Party | have same problems with, because they
never did really have the kind of political education and literacy programs that the Wobbiies and the earlier
socialist party had had. So the communists were more like masses to strike, organized more like industrial
strike.

Postel: Was this unwillingness to organize with the poor farmers derived from this white trash mentality, the
belief that these people are really unorganizable?

Dunbar-Ortiz: | think so and | think it was very hard for those who were, and admirably so, anti-racists, which
Communists party people were. | was talking to someone today about how the thing | most admire about the
Communist Party in the United States. Because racism goes sc deep and they focused on being anti-racists.
They still had a iot of problems with it and bringing blacks into leadership. They were very conscious of it but |
think they didn't quite know what to do with the racism of the whites and didn't understand it and didn't have
enough organizers from the grass-roots to really deal with it. | use Woody Guthrie as an example. Woody
Guthrie was anti-racist and not unlike many Oklahomans. He talks like us and is like us but he was out of that
context in California. Then they recruit Leadbelly. The two of them were like book-ends but totally seperate in
organizing in some way. The only cross-over is like "Goodnight Irene" a Leadbelly song that got sung by the
Weavers. Culturally there could be some cross-overs but this mainly took place in New York and with
Communist cadre and not really interchange with the people themselves in aptual work situations.

Postel: Now in terms of your family's poverty Roxanne, | find it realiy interesting what you say on page 18
where talk about ‘the rage of your poverty.' The poor conditions your family lived in but this was covered over
with pride for just being white and real Americans. Will you talk about that a little bit?

Dunbar-Ortiz: Yes, | think this idea of being the chosen ones, being the original settlers. It's hard to distance
myself from it because sometimes | feel almost like these doctors who experiment with dangerous drugs with
myself and | look at my own life, my own consciousness and try not to censor because | worked so hard at
fighting racism consciously. | do think peaple's consciousness can change and it should. You shouldr’t just be
whatever you are, whatever you were formed to be. Yet I know it's almost like physical therapy or something
where you have to compensate one thing for the other and think twice about it and be really, really conscious
and it's a hard process. | don't think it takes so much a formal education as political consciousness and that can
come in many different ways. | know plenty of people who get the education and still just have a slight veneer
over their racism. But | think that the, the way in which | decided to deal with |t is to Jook at other places, other
people, other settler groups and | have really have learned a lot from the situation, from Afrikaner writers who
are in the A.N.C. and ail, from Andre Brink, and Coetzee and Breitenbach who are Afrikaners from that poor
white Protestant background in South Africa. | think to talk about white supremacy and white skin privilege
without breaking it down into old settler and immigrant is to not quite get the point. Because the racism of the old
settler class is far broader then just anti-black. Blacks were the closest scapegoats. And it doesn’t include
interestingly enough as much the Indians and Mexicans as other kinds of racism do but the foreign born, the
recent immigrants. At least in the south-west most Okies or what I call old-settler types would consider
Mexicans, on the border anyway, Chicano-Southwest Mexicans just like themselves. Or the Indians, just the
same. They're all poor, they're all the same.

Postel: And have real deep roots there with intermarriage, lot of intermarriage. The deep south-west American
roots of those of the two cultures would provide more in common than say somebody born in Central Europe or
Eastern Europe right?

Dunbar-Ortiz: And the extent that the Czechs and the Poles assimilated to the Old settler culture which in
the process also assimilated them because where did that accordian come from, where did that music...

http://www.reddirtsite.com/about.html 12/6/2004
Postel: That Tex-Mex Conjunto music with the Polish and German accordian sound....

Another
cabin: Author
‘at age 2 with
siblings at
‘another

. sharecropper
cabin in
‘Oklahoma.

Postel:And you make an interesting point about that in the:book. You
talk about the K.K.K. being bankrolled by rich wheat farmers; by
industrialists and wealthy folks.

Dunbar-Ortiz: Everyone knows who they are. In my little town where |
grew up, there is a little farming community where my dad had share-
cropped around, Piedmont. | went there in August and was Hosted by a
Piedmont historical society. Se all the old-timers and their offspring were
there, the whole town was there. They don't have a book store in that
town but in Northwest Oklahoma City, there's a Barnes and Nobles.
Apparently when there was the review of the book in the Daily
Oklahoman, it was such a run on Barnes and Nobles that my book was
outselling John Grisham.

Postel: How about that.

Dunbar-Ortiz: At that particular Barnes and Nobles. Everyone had
read the book, everyone. They seemed to have really loved it. | change a
lot of names in it. it seemed to touch them where it was really true. The
thing that was really nice was that in that room, about 100 people that
night, you know | deal a lot with the Klan and the Catholics, if that room
were former Kilansmen and their offspring and of course there these
German Catholics who were persecuted and their of-spring for the first
time. i never thought I'd see it happen in Oklahoma. An outspoken Irish
Catholic, Roberta Whalen, said “this book is so wonderful I'ri so glad
someone finally wrote down what the Klan did to our families, how they
terrorized us, how they made our lives miserable, and they should rot in
hell as far as I'm concerned.” And here are these former Klansmen sort of
tucking their heads down in shame. This was something | thgught 1 would

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Dunbar-Ortiz: Of course it's like you know black music in the south. It absorbed to an original American
genre. You know a certain context in which they insist on assimilation but onbe assimilated they become just like
the others. | know Jack Womack, a professor at Harvard, whose from Oklahoma from a Czech background. His
father was just as bigoted as my father even though even though he was Czech and Catholic. Exactly the same
kind of language and view. Jack is another one, what do you do except stay as far away as possible. Go down
and see your family and you can't quite deal with it. It's a very, very contradidtory thing. But | think that there's
more hope there in human reconciliation. Because | do think there are structural needs for racism in this country
that it keeps getting perpetuated. The poor whites are the people who get blamed because they are the most
blatant in language, even more than behaviour. But you have to remember that the Ku Klux Klan was farmed by
what would today be called fraternity boys, rich kids. It wasn't formed by a bunch of poor farmers.

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never see, that kind of open confrontation about those issues because
basicaily people just sweep them under the rug, you don't talk about those
things and everyone has to get along. So the people who were
persecuted have to live with that bitterness. If nothing else tm mM glad I did
the book for that moment. It was really great.

Postel: What a homecoming. Now Roxanne, one of the things that |
found interesting about the book is the different kinds of metamorphoses
that you document. Metamorphosis in your own political consciousness
that we just touched on briefly and the metamorphosis of your relationship
with your father, the relationship of his political consciousnegs, the
metamorphosis in your desire to maintain a relationship withiyour father
and your daughter, for your daughter to have some sort relationship to
your father. Now, let's back up a little bit and talk about something you
touched on a minute ago which is the different ways that racism worked in
Oklahoma. There was a sense there was a fot less racism directed say
towards the American indians than foreign settlers. What was your dads
relationship with indians? There's a really interesting passage where you
know he tells the iong story of the Osage Indians. That must/have struck
you to hear your dad talk about the Osage Indians.

Dunbar-Ortiz: The Osage Nation was of course the oil ri¢h area that
was left intact. It was, is the only indian land in Oklahoma that wasn't
broken down into homesteads, That was because they just moved in and
bought the oil leases, or the royalties, not bought them but ldased them.
Oil leases from the tribe and just poured a lot of money in there. That
meant that a small percentage of Osages were very rich and the rest were
extremely poor like a third world country but there were Osages with
cadiliacs and with fantastic houses and everything. Well, anyway the
white ranchers who leased ranch land on Osage land, it's a vast territory,
prairie land, beautiful grazing land. They had huge ranches and they had
hired hundreds of line workers to string barbed wire, fix the barbed wire,
fix the fences, round up you know the stray cattle, bring them in, drive
them in. They provided very little in the way, not to speak of low wages
but housing. Basically the cowboys had to camp out, depending upon the
ranchers, sometimes they had bunks. They were really bad on the Osage
and mostly cowboys up there, they were a real mixed group but there was
of course quite a few Indians, and Indians lived in the area. And my dad
felt that they may not have survived without help from the Indians,
especially the elderly Indian women who would cook them up some corn
bread or cook a pot of something and felt sorry for these boys or if they
brought their own boys, the Indian boys something, they brought it for the
other people too. So he loved the generosity of the Indians, how they
simply had no sense of money. Now people usually say "well, dumb
Indians. They have no sense of money” but he acknowledged the
generosity and if everyone could be like that you know it would be a much
better world.

Postel: When you asked him what the Osage Indians were like, oh just
about like any country folk excepting one thing, they'd give you the shirt
off their back. You just mention you like something they'd give it to you. if
they have any money they'd give that to you toa. That's the way all
Indians were.

Dunbar-Ortiz: Yeah, he really admired that and of course he also
admired the Indian cowboy's horse skills, his horsemanship. The things
he admired in people, the blacks too, there were also black cowboys. You
know, | thinks there’s one abstraction where they'd say blacks and use
epithets to say that or Czechs or anything else, they'd use things like

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Pollacks, Bohunks, all these names. In reality those that worked together
and worked together were absolute equais. So these abstragt terms were
for someone else somewhere. And | think that's something that's often
misunderstood by more white liberals or maybe even black liberals.
Actually | think blacks understand a lot better the class differences among
whites, especially these old settler rural whites, than white literals do.
White liberals look down on white trash, they’re lower than the low.
There's no real political correctness imposed on completely trashing white
trash. That's the one group left there's open season on. :

Postel: This leads me to one of the most interesting episodes you talk
about Roxanne which is the Green Corn Rebellion of 1917 and your
family's perception and memory of that incident. Can you taik about the
relevance of that and maybe walk us through the incident itself?

Dunbar-Ortiz: We'll its a really interesting extraordinary avent. Of
course the Wobblies were extremely popular all over Okiaholna but this
was southeastern Oklahoma. It was a real stronghold of share croppers
and tenant farmers and they were very mixed with the old Seminale
nation that got broken down, so a lot Seminole Indians, Cree Indians,
Muskogee Indians. This was an area where a lot of free black towns were
established after the Civil War. And many had lost there land, there were
a lot of poor blacks and poor whites. Their consciousness was certainly
raised by the I.W.W., they had had some successful programs like a
health care program they had set up, a co-operative they had set up.
They set up quite a few co-operatives. They really had to fight the powers
that be. They were really fighters, really enjoying it. There are quite a few
interviews the W.P.A. did in the 1930s of some of those people that are
fascinating. So when they started conscripting fer World War One, after
Wilson had got into the war, they knew that it would be their boys to go
first. Rich men’s sons wouldn't be going. They decided unanimously, all of
the poor, literally ail of the poor, they would not let their sons: be
conscripted. Not only that but they followed the IWW socialist credo of
being opposed to the war in particular, not just war in generd|. They made
it very clear they in fact were going to make a war, make a révolution. So
they formed a rag-tag army. They all knew how to use a guni but they had
very few and far between and very little ammunition. But they, most all of
them had worked in the coal mines and had access to dynamite and they
used dynamite quite a bit in Eastern Oklahoma to blow up power lines
and stuff. So they worked it all out and blew up all the bridges and power
lines around a certain periphery and created what we would inow call a
little liberated zone. Then they stopped and had a feast. Green Corn
Rebellion is harvest, the corn harvest festival that's not on amy particular
date. it's whenever the corn turns green, its next stage is yellow but you
can pick it and it wi sun ripen. So what they were going to do is pick the
corn green and take it in huge amounts and go all the way tg Washington

_ to overthrow the government. And along the way they were going to be
joined, armies of landless farmers.

Postel: Kind of like, if | can't feast | don't want to be part ofiyour
revolution.

Dunbar-Ortiz: Right, well this is how they would survive on their
bellies. They would pick. They also believed that the railroad unions and
the miners union, all the big unions, would just join in. It was:sort of like
Che Guevara in Boliva or the Zapatistas in Chiapas or the Emiliano
Zapata in Morelos. What is really a shame in our history, evén on the left,
i's portrayed as some stupid bunch of bumpkins doing stupid things. Even
a Socialist Party organizer in his autobiography, actually blames them for

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the repression against the Socialist Party, the Palmer Raids nd all,
because they picked up arms. And | think that's just a re-writing of history
and blaming the victim. Yes they did lose but so did Che in Bolivia. It's
one thing | learned in Latin America is how you embrace your martyrs
even if they were wrong. | did plenty of wrong-headed things in my early
organizing efforts and could have done a lot worse. | think there's some
people in Chicago who understand that but not to embrace that and say
that's still taking a stand. The Indians have claimed the story and it is
alive. For them it's one of many. They remind me of the Viethamese, who
say we fight from generation to generation, and it's the fight itself that
keeps us going and makes us continue, so this is one of the many
struggles, uprisings, that the Seminole Indians see as a part) iof what

makes them a people of resistance and proud.

Postel:Now Roxanne, why didn't you want your daughter to meet your
father and what was it that eventually changed your mind about that?

Dunbar-Ortiz: Well | guess it's complicated as all child/parent things
are with all normal Oedipian or psychoanalytical things. Spetifically | think
i could have resolved most of those things without too much of problem. |
think | was ashamed of being poor white. Even in the movement, | was
proud of being from the working class, being proletariat, beirig blue cellar,
| was always very proud of my grandfather being a Wobbly. This had
cachet in the left.

Postel:it carried a certain cultural capital.

Dunbar-Ortiz: Yes, a certain cultural capital when we asked each
other “what are you and what are you?" Our little levels of status
depending on it, had we had been arrested on a shop. :

Postel: Certainly more romantic than being from an affluent suburb, let's
say. :

Dunbar-Ortiz: Exactly, we could sort of one up each other. | didn't see
it consciously at that time and it was part of who | was. And ¢ourse | had
myself worked in factories, had to work and did go on to college. But |
edited my background in terms of all the other things, the oid settler class.
The racism | so much opposed myself and my father's such a bigot. The
period of time of the sixties and especially late 1960s and early 70s when
[was my most militant he was supporting George Wallace. It's one thing
to support Hubert Humphrey or something but | was dealing!with a father
who supported George Wallace. My dad stingy and poor was sending
money to George Wallace, campaign contributions. So, we gimply could
not have a discussion. Not only that, if he had been willing t¢ just leave it
alone, we'd just talk about, look through the photo albums and talk about
the past. He wanted me to think the same as him. He saw it as his duty as
most fundamentatist type people. Of course | did too asa socialist. They
had to think like 1 do. They can’t just leave it alone...

Postel: Clashing of two fundamentalisms here.
Dunbar-Ortiz: |'m sure | got my rigid dogmatism straight from him.

Postel:So you were afraid of your daughter being exposed to this.

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Dunbar-Ortiz: It was my little thing. You will never get to meet my little
daughter so long as you are supporting George Wallace, basically. You
got to change. And of course, he’s unchangeable. Well, I'd go back and
see him and would almost always end in a fight. | would think about taking
my daughter back. Well, you see my daughter was really raised by her
father and his family. I'd lost custody of her but did see her,;| was able to
see her and we're very, very close now. It's not like | had her with me and
| hid her in motel or something when we went there. It would! have taken
some trouble to take her there. And then | was kind of ashamed that her
father's family were much better off. Something she could bd proud of.
And | didn't want her to see how my dad lived in very, very poor
conditions, which he still does. | mean here's a working class room we're
in now, but it's all neat and clean and orderly and everything, My dad, as |
said, is like living in a camp, to live with him. He cannot see why any kind
of nicety, including curtains or anything else, should be necessary to live.

Postel: Well, we're talking about somebody who had himself grown up
in some of the poorest conditions of all. When your father had gone back
to Texas after he was taking care of a women's shop and he had lost the
shop couldn't pay his rent. He was evicted. They went back to Texas to
live with his brother, who himself was poor but had him out in a shack in
the back. So this is where you spent some of your childhood; it was a
cooker, there was no ventilation. We're talking about some one who had
lived through some of the harshest poverty imaginable.

Dunbar-Ortiz: Of course he had also lived camping out for about four
years before he got married as a cowboy. So he liked not having a lot of
objects. | was like that. For years | wouldn't buy a bed. To me as a leftist,
this was bourgeois, to own a bed, to own any furniture. :

Postel:) can identify with that.

Dunbar-Ortiz: i thought | was getting it from my leftist polltics, but |
think I just took after my dad. / liked the spareness and the freedom of
being able to carry everything on your back or in my volkswagen bug.
There was that but also part of it is choice and part of it is choice now. |
think he always felt that if you softened up too much, if you had too much
luxury or too much joy or pleasure that it would break down your ability to
survive. He's probably right. One thing | understand about pdverty is how
in some ways it hardens people. | hate remanticizing poverty because |
think it can make you as cald as can be. That's why people ftom that kind
of background make very good soldiers, can kill without a bitiof
consciousness because if your in a survival situation, this is what you
have to do. And it's a tragedy because it can go awry. You look at the
profile of the kind of person who gets up on the tower and shbots ail the
people, that is a profile of a poor white male between the ag¢ of 25 and
35.

Postel: Well that does the trick for Free Associations this week friends
and that also concludes my interview with author Roxanne Dunbar-Ortiz
about her new book Red Dirt: Growing Up Okie.

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Amazon.com Interview:

Q: How did you begin writing? Did you intend to become an author, or do you have a specific reason or
reasons for writing each book? :

RD-O: | have written and thought of myself as a writer as lang as | can ramember. Although my family was
extremely poor and rural and we had few books, my mother and father were both great storytellers, and later
when | was in school, my mother started writing stories and publishing them in the weekly newspapers of
nearby rural towns. | was an asthmatic and often at home alone with her on school days. It seemed natural that
after doing the many housekeeping and farming chores that she would sit down and write for several hours. |
chose to become a scholarly writer and studied history, completed the Ph.D. and have published several books
and articles on the history of colonialism in the western hemisphere. My just published, "Red Dirt: Growing Up
Okie," is a departure In that it is a memoir although | call it "life history," using my own life story and that of my

family and community to tell the history of rural North America.

Q: What authors do you like to read? What book or books have had a strong influence on you or your writing?

RD-O: | strongly faver books with poor and working class themes--Charles Dickens, Victor Hugo, Knut
Hansum, William Faulkner, Eudora Weldy, and more recently the work of Dorothy Allison and Jim Grimsley. |
am also drawn to history and stories of marginal individuals and peoples and:dysfunctional families, such as a
lot of the work of the nineteenth century Russian writers, Tomas Mann, D.H. Lawrence, Jose Camilo Cela. I'm
now reading the three new biographies of Ernesto Che Guevara (Jon Lee Anderson, Jorge Castaneda, Paco
Ignacio Taibo 2nd) and J. Anthony Lukas's “Big Trouble," a historical study of the Industrial Workers of the
World during the first two decades of this century. My grandfather was a Wobbly and my father is named after
the Wobbly leaders (Moyer, Haywood, Pettibone, who were on trial in Boise during the summer of 1907 when
he was born. | read a great deal and always have and have been influenced profoundly both in my life and
thinking as well as my writing. During the past decade, working on the memoir, “Red Dirt," and attempting to tell
history through a family story, | have been most influenced by the nonfiction work of Richard Slotkin (especially
"Gunfighter Nation") and by the fiction of Afrikaner South African writers, especially Andre Brink, and by the
bounty of fine writing from Asia, especially Salmon Rushdie.

Q: Could you describe the mundane details of writing: How many hours a day do you devote to writing? Do
you write a draft on paper or at a keyboard (typewriter or computer)? Do you have a favorite location or time of
day (or night) for writing? What do you do to avaid~or seek!—distractions?

RD-O: | write best in my own study during the early hours of the morning. The rest of the time | can do editing
and revision, but the original writing pretty much takes place at my desk. | write all first drafts by hand on a lined
legal pad, then revise on the computer. To write and even to edit and revise, | have to stay home, so when |
travel | don't even try to write, except letters and same in a notebook.

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Q: Do you meet your readers at book signings, conventions, or similar events? Do you interact with your
readers electronically through e-mail or other online forums?

RD-O: | love to meet my readers in any setting or through mail and telephone. Lately, | have been doing a lot
of readings and signings and really enjoy it, although | haven't been getting much writing done. | am a university
teacher and love interaction with people which involves the intellect, imagination, and emotions. I'm not a
lecturing kind of teacher, rather more interactive.

Q: When and how did you get started on the Net? Do you read any newsgroups such as rec.arts.books and
rec.arts.sf.written, mailing lists, or other on-line forums? Do you use the Net for research—or is it just another
time sink? Are you able to communicate with other writers or people you work with over the Net?

RD-O: I've been on the net for several years now, although | use it mainly for email and to read the daily news
and reviews. | really love not having to subscribe to so many magazines | never finish reading.

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